Case 6:20-cv-01213-ADA Document 39-2 Filed 07/09/21 Page 1 of 4




           EXHIBIT 1
           Case 6:20-cv-01213-ADA Document 39-2 Filed 07/09/21 Page 2 of 4


From:             Evan Pearson
To:               Henrik Parker; TXWDml_LawClerks_WA_JudgeAlbright
Cc:               OceanSemi-WDTX; oceansemi-dlf
Subject:          RE: Ocean Semiconductor LLC v. MediaTek Inc.., C.A. No. 20-cv-1210; NVIDIA., 20-cv-1211; NXP
                  Semiconductors., 20-cv-1212; Renesas., 20-cv-1213; Silicon Laboratories, 20-cv-1214; STMicroelectronics., 20-
                  cv-1215; Western Digital, 20-cv-1216
Date:             Tuesday, June 29, 2021 5:31:18 PM
Attachments:      image002.png
                  image003.png


Thank you for your email, Henrik. There is no need for a hearing on the Motions to Dismiss at
this time. Additionally, the parties are instructed to meet and confer to coordinate the
parameters of discovery and briefing. The motion for case consolidation will be denied, but
the cases should go forward on the same schedule. Thus, there will be coordinated/joint
Markman proceedings, discovery, and pretrial briefing. Please submit scheduling orders to this
effect so they can be entered.

                           Evan Pearson
                           Law Clerk to the Honorable Alan D Albright
                           United States District Court, Western District of Texas
                           Direct: 254-750-1522
                           Cell: 915-588-9686
                           Evan_Pearson@txwd.uscourts.gov



From: Henrik Parker <hparker@devlinlawfirm.com>
Sent: Tuesday, June 29, 2021 12:12 PM
To: Evan Pearson <Evan_Pearson@txwd.uscourts.gov>; TXWDml_LawClerks_WA_JudgeAlbright
<TXWDml_LawClerks_WA_JudgeAlbright@txwd.uscourts.gov>; Suzanne Miles
<Suzanne_Miles@txwd.uscourts.gov>
Cc: OceanSemi-WDTX <Defs@devlinlawfirm.com>; oceansemi-dlf <oceansemi-
dlf@devlinlawfirm.com>
Subject: Ocean Semiconductor LLC v. MediaTek Inc.., C.A. No. 20-cv-1210; NVIDIA., 20-cv-1211; NXP
Semiconductors., 20-cv-1212; Renesas., 20-cv-1213; Silicon Laboratories, 20-cv-1214;
STMicroelectronics., 20-cv-1215; Western Digital, 20-cv-1216

CAUTION - EXTERNAL:



Your Honor,

I am one of counsel for plaintiff Ocean Semiconductor LLC in each of the seven actions captioned
above.

A CRSR has been previously filed in each of the seven actions.

Having conferred with counsel for each of the seven defendants, and in accordance with the
Amended Standing Order Regarding Notice of Readiness for Patent Cases entered on June 16, 2021,
       Case 6:20-cv-01213-ADA Document 39-2 Filed 07/09/21 Page 3 of 4


the parties in the seven related actions submit this email setting out certain “pre-Markman issues in
need of resolution” that Ocean Semiconductor believes merit a telephonic hearing. Defendants
disagree that a telephonic hearing is needed.

Motions to Dismiss: There are pending Motions to Dismiss in each of the seven related actions. All
seven motions are fully-briefed. Defendants believe that a pre-Markman ruling on the pending
Motions to Dismiss would be most efficient, as the Court’s ruling could substantially narrow the
issues in dispute and therefore the claim terms presented the Court during the Markman hearing.
However, Defendants do not request a hearing on this issue unless the Court believes one would be
helpful.

Motions to Consolidate: There are pending Motions to Consolidate in each of the seven related
actions whereby Ocean Semiconductor seeks to consolidate the seven actions for all pre-trial
purposes. Each motion is fully-briefed. It is Ocean Semiconductor’s position that there should be
coordinated/joint Markman proceedings, discovery, and pretrial briefing and that the parties will
need the Court’s assistance to determine the parameters of that coordination and the appropriate
limits for discovery and briefing. As Defendants explained in their oppositions to Ocean
Semiconductor’s Motions to Consolidate, the cases need not be consolidated because the Court’s
current protocols provide adequate, streamlined procedures for case coordination, claim
construction, and discovery where there are multiple related cases. Regardless, given the Court’s
standard protocols for holding joint Markman hearings, Defendants believe that it is not necessary
to hold a pre-Markman hearing regarding consolidation. Defendants also believe that the Court’s
amended OGP on coordination takes care of pre-Markman coordinated briefing, so Defendants do
not believe that this matter necessitates a hearing either, unless the Court would like one.

Given these outstanding issues, the resolution of which will directly affect the scope of each action
and the manner in which they proceed towards trial, Ocean Semiconductor believes that it would be
useful and efficient for the Court to hold a hearing. Defendants disagree that a telephonic hearing is
needed.

Respectfully submitted,
        Henrik D. Parker




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       Case 6:20-cv-01213-ADA Document 39-2 Filed 07/09/21 Page 4 of 4


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